                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


STEFEN ESCAMILLA,

                Plaintiff,

v.                                                           Case No. 21-CV-00510

UNITED STATES OF AMERICA,

            Defendant.
_____________________________________________________________________________

            DEFENDANT’S TABLE OF UNPUBLISHED AUTHORITIES
_____________________________________________________________________________

        The United States of America, by its undersigned attorneys, pursuant to Civil L.R. 7(j)(2),

hereby respectfully provides copies of the below-noted unreported decisions that are cited in its

“Reply Brief in Support of Defendant’s Motion for Summary Judgment.”

-    Harp v. Glock, No. 18-C-1039, 2019 WL 1859258 (E.D. Wis. Apr. 25, 2019)

-    Hart v. Dow Chem., No. 95 C 1811, 1998 WL 151815 (N.D. Ill. Mar. 27, 1998)

-    Long v. Alcoa Inc., No. 3:09-CV-547, 2010 WL 3338559 (E.D. Tenn. Aug. 24, 2010)

-    Thompson v. Fred's Stores of Tennessee, Inc., No. 3:15CV102TSL-RHW, 2015 WL 5655948

     (S.D. Miss. Sept. 24, 2015)

                Dated at Milwaukee, Wisconsin this 13th day of April 2022.

                                                     RICHARD G. FROHLING
                                                     United States Attorney

                                             By:     /s/ Brian E. Pawlak
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         Case 1:21-cv-00510-WCG Filed 04/13/22 Page 1 of 20 Document 55
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                              2
Case 1:21-cv-00510-WCG Filed 04/13/22 Page 2 of 20 Document 55
Harp v. Glock, Not Reported in Fed. Supp. (2019)


                                                                a motion to dismiss under Federal Rule of Civil Procedure
                    2019 WL 1859258                             12(b)(6). Later, Ms. Harp filed a motion to amend her
      Only the Westlaw citation is currently available.         complaint against NBCUniversal only. NBCUniversal does
       United States District Court, E.D. Wisconsin.            not oppose the motion to amend, but it states that if the court
                                                                grants leave to amend it will file a motion to dismiss the
               Rebecca I. HARP, Plaintiff,                      amended complaint. Ms. Harp has also filed a motion for
                            v.                                  summary judgment against Ms. Glock.
               Allison GLOCK, Defendant.
                                                                As explained below, the episode itself, which is properly
                Rebecca I. Harp, Plaintiff,
                                                                considered part of the plaintiff's complaint against each
                          v.
                                                                defendant, provides enough factual matter about Ms. Harp's
                NBCUniversal, Defendant.
                                                                claims to resolve each defendant's motion to dismiss.
          Case No. 18-C-1039, Case No. 18-C-1159                Moreover, Ms. Harp's proposed amended complaint, even if
                             |                                  filed, would not change the result of the motions to dismiss
                     Signed 04/25/2019                          or alter the course of future litigation. For these reasons, I
                                                                will address each defendant's motion to dismiss in this order
Attorneys and Law Firms                                         and deny Ms. Harp's motion for leave to file the amended
                                                                complaint. I also deny the plaintiff's motion for summary
Rebecca I Harp, Milwaukee, WI, pro se.                          judgment because it relies on defendant Allison Glock's
                                                                failure to respond to requests for admissions that Ms. Harp
Alonzo Wickers, Davis Wright Tremaine LLP, Los Angeles,
                                                                served on her before the parties conferred under Federal Rule
CA, Brady C. Williamson, Eric J. Wilson, Godfrey & Kahn
                                                                of Civil Procedure 26(f). Because the requests for admission
SC, Madison, WI, Zachary R. Willenbrink, Godfrey & Kahn
                                                                were prematurely served, see Fed. R. Civ. P. 26(d)(1), Ms.
SC, Milwaukee, WI, for Defendant
                                                                Glock is not deemed to have admitted anything by failing to
                                                                respond.

                DECISION AND ORDER

LYNN ADELMAN, District Judge                                             I. The Episode Is Part of the Complaint

 *1 On September 1, 2016, the Investigation Discovery           When deciding a motion to dismiss under Rule 12(b)(6), a
channel aired an episode of the true-crime series Unraveled     court usually cannot consider materials outside the plaintiff's
entitled “Never Say Goodbye.” The episode, which was            complaint unless the court treats the motion as one for
produced by NBCUniversal Media, LLC, focuses on a               summary judgment. See Fed. R. Civ. P. 12(d); Reed v. Palmer,
thirteen-year relationship between two high-school and
                                                                906 F.3d 540, 549 (7th Cir. 2018); Santana v. Cook County
collegiate women's basketball players, Malika Willoughby
                                                                Bd. of Review, 679 F.3d 614, 619 (7th Cir. 2012). However,
and Rosalind “Roz” Ross. In 2011, Ms. Willoughby pleaded
                                                                the court may, without treating the motion as one for summary
guilty to a homicide charge that arose out of her shooting
                                                                judgment, consider materials outside the complaint when they
Ms. Ross a year earlier. These events were the subject of
                                                                are mentioned in the complaint, concededly authentic, and
an article authored by Allison Glock and published in ESPN
The Magazine in 2012. Ms. Glock appears in the episode and      central to the plaintiff's claim. See, e.g.,   Hecker v. Deere
offers commentary and opinions.                                 & Co., 556 F.3d 575, 582 (7th Cir. 2009).

On July 9, 2018 and July 27, 2018, Rebecca Harp—Ms.              *2 In the present case, the episode containing the allegedly
Willoughby's mother—filed separate civil actions in this        defamatory statements meets these conditions. The plaintiff
court against Ms. Glock and NBCUniversal. In each action,       refers to it in her complaints, and because the episode contains
Ms. Harp, who is pro se, alleges that the episode contains      the allegedly defamatory statements, it is central to her claims.
defamatory statements and depictions about her relationship     Moreover, I do not understand the plaintiff to dispute the
with her daughter and her daughter's childhood. These actions   authenticity of the copy of the episode that NBCUniversal
were consolidated. Before consolidation, each defendant filed   filed on DVD with its motion to dismiss. See Case No.



              Case
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                     Thomson Reuters. No claim     04/13/22
                                               to original       Page 3 of Works.
                                                           U.S. Government 20 Document 55                                     1
Harp v. Glock, Not Reported in Fed. Supp. (2019)


18-C-1159 ECF No. 17-2. Although the plaintiff previously          age.” The episode returns to the reenactment, where actresses
stated that the DVD she received from NBC's counsel “has           portray Malika and her mother. 2 The actress playing Malika's
nothing on it,” ECF No. 22 at 9, counsel later provided            mother asks Malika to help with her sister. The actress playing
her with a second copy, ECF No. 23-1. Since receiving              Malika responds, “Okay Mom, I'll be right there.” We then
the second copy of the DVD, the plaintiff has not disputed         see Pamela Collins, Roz's mother, in the studio. She states,
its authenticity. Accordingly, in deciding the motions to          “I think Malika did have to grow up fast because she had to
dismiss, I will consider the episode as it appears on the DVD.     take care of her sisters.” Roz's father, Willie Edward Collins,
Moreover, to the extent the complaint's allegations contradict     is also shown in the studio. He states, “One time Malika did
or mischaracterize the contents of the episode, I will disregard   mention something to me that she really didn't have a life
them. See Forrest v. Universal Sav. Bank, F.A., 507 F.3d 540,      for herself, you know, mother always had her watching other
542 (7th Cir. 2007) (on a motion to dismiss, the court “is not     kids.” Spencer Ross, Roz's brother, appears next. He states, “I
bound by the party's characterization of an exhibit and may        know that Malika took on a lot of adult responsibilities as far
independently examine and form its own opinions about the          as making sure her younger sister was okay and taking care of
document”).                                                        her, um, disabled sister. It was a lot on Malika's plate.” While
                                                                   the Ross family speaks, the actress playing Malika is shown
                                                                   sitting in her home, looking lonely.
          II. The Allegedly Defamatory Content
                                                                    *3 The episode returns to the reenactment. It shows the
A. The Episode                                                     actress portraying Harp coming home from work. As soon as
The episode is approximately 45 minutes long. After a              she sits down, Malika excitedly runs to her. She says, “Hey
brief introduction, the episode depicts, though dramatic           Mom, I waited for you to get home so I could tell you about
reenactments and narration, the circumstances under which          this awesome play I did.” Before Malika finishes, her mother
Roz and Malika met each other. 1 The skyline of downtown           interrupts, “Not now, honey, I just got home, I'm tired, and
Milwaukee is shown, followed by a shot of a playground in          I have to find your sister's medication.” As her mother says
what appears to be a residential neighborhood in the city.         these words, Malika's smile fades. She says “Okay. Maybe
The camera moves to an indoor basketball court. While a            later.” The actor portraying Ms. Harp wonders whether she
reenactment is depicted, the narrator explains that Roz and        left Malika's sister's medication in the kitchen. After she gets
Malika met at a local basketball summer league in the summer       up to look, the camera lingers on Malika's face for several
of 1997. At that time, Roz was seventeen years old and             seconds to show her disappointment. After this scene, the
Malika was fourteen. The narrator explains that both girls         reenactment shows Malika and Roz having fun together. The
were excellent basketball players and became friends after         narrator states, “With Roz, Malika can forget her burdens, and
impressing each other on the basketball court.                     she feels at home in a way she never has before.”


The reenactment shows Roz and Malika spending time                 In the scenes that follow, the reenactment shows Malika and
together, and the narrator explains that Malika began to hang      Roz becoming closer. Spencer Ross states that it was almost
out, regularly, at Roz's house. As the reenactment shows           like the two of them “shut everyone else out.” The episode
Malika having dinner with Roz's family, the narrator states,       returns to Ms. Glock, who states “For Malika, Roz was a
“Looking around the table, Malika sees a family dynamic very       safe shore and I think the person who really loved her, or
different from her own. She lives in a tough neighborhood          at least that she felt loved by.” The reenactment shows the
a few miles from Roz with her mother, who works as a bus           girls holding hands. The narrator states, “Then, one day in
driver, and two younger sisters, one who has cerebral palsy.”      late summer, their relationship takes a tentative step in a
When the narrator says the words “tough neighborhood,”             more intimate direction.” The reenactment shows Roz giving
images of what appears to be a residential neighborhood in         Malika a ring, and Malika kissing Roz. Then we see Glock
the City of Milwaukee are shown.                                   in the studio, who says “I feel like it genuinely was, um, a
                                                                   love that sprung up organically from their relationship, and I,
At this point, Allison Glock is shown in a studio. She             I wouldn't say one knew before another.”
states, “Malika's home life was really challenging. She had a
disabled sister whom she was, ah, largely responsible for, and     The episode depicts and explains how the girls’ families
she was under extreme stress and duress from a very early          disapproved of their romantic relationship. A psychotherapist


               Case
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                                                to original       Page 4 of Works.
                                                            U.S. Government 20 Document 55                                      2
Harp v. Glock, Not Reported in Fed. Supp. (2019)


is shown in the studio; she explains some of the challenges         and I think, um, neglected.” After a scene in which Roz tells
that gay and lesbian teenagers face. The reenactment shows          Malika over the phone that it was time for a break in their
Roz's father learning that the girls were in love and ordering      relationship, Ms. Glock states, “I believe Malika probably
Roz to stop seeing Malika. The reenactment then turns to            was already prone to obsessiveness and jealousy, and when
Malika and her mother in their home. Malika is shown                you marry that with love and then a partner who starts to pull
on the couch when her mother asks what she's doing and              away, it becomes a really combustible situation.”
sits down next to her. Malika tells her mother she's doing
homework. Her mother says, “Let's see,” and looks in one            The episode explains that both girls went on to have
of Malika's notebooks. She discovers a Polaroid picture of          successful college basketball careers. Roz was drafted by the
Roz and Malika kissing. Malika's mother confronts Malika            WNBA, but an injury ended her career before she played a
about the picture, and Malika describes it as “nothing,” saying     single pro game. Malika played college basketball at Kent
that the girls were just “kidding around.” Malika's mother is       State. After college, both women returned to Milwaukee and
upset, and Malika says it won't happen again. Malika's mother       got a house together. Malika worked as a bank teller, while
replies, “It better not.” Malika says she's sorry, and her mother   Roz coached basketball and worked as a security guard.
gets up from the couch in anger. We then see Patricia Collins       Malika's obsessiveness, insecurity, and jealousy continued.
in the studio, who states, “ ‘Cuz her mother didn't accept it.      The episode shows Malika beginning to drink alcohol, and
You know, she didn't accept her being gay. She didn't want          Roz's family members, in the studio, explain that they were
her daughter—she didn't want a gay daughter.” The episode           concerned about the amount she drank. Ms. Glock states that
continues to show Roz's conflict with her father and then           Malika grew increasingly possessive and erratic.
explains that the adversity the girls faced caused their bond
to strengthen.                                                      Eventually, Roz decides to leave Malika to take a job at her
                                                                    alma mater in Oklahoma. The episode explains that Roz is
Next, the episode shows Malika's love for Roz beginning to          reluctant to tell Malika about her decision. However, one
veer into unhealthy territory. Allison Glock states, “I think       night, Roz and Malika drive to a fast-food restaurant for
that initially, Malika felt like she'd, you know, won a lottery     dinner. Before they leave, Malika takes a handgun that she and
or something to be on the arm of Roz and to bask in the             Roz had purchased for self-defense. The reenactment shows
sort of attention that Roz would commonly get. But as their         Malika and Roz arguing in their car after Roz receives a call
relationship progressed, it became a source of jealousy, um,        and refuses to tell Malika who it is. During the argument,
and insecurity for Malika.” The episode shows that, in the          Malika accuses Roz of cheating on her, and Roz yells, “This
fall, Roz left Milwaukee to attend college in Oklahoma on           is why I'm leaving you.” Roz tells Malika that she's going
a basketball scholarship while Malika finished high school.         to Oklahoma and not taking her with. At this point, the
The narrator states, “It's the first time the girls have been       reenactment is interspersed with actual security footage from
separated, and Malika is miserable.” The reenactment shows          the drive-through lane. It shows the women arguing in the car
Malika sitting at home when her mother enters the room. Her         and then Malika getting out of the passenger side, walking
mother states, “C'mon, you're moping around all the time now.       to the driver's side window, and shooting Roz. The footage
It's because of that Roz girl, isn't it? I told you she wasn't      from the drive-through lane and the reenactment show Malika
good for you in the first place.” After Malika replies, “Mom,       cradling Roz's body on the pavement. The narrator explains
she was fine,” her mother tells her to come help with dinner,       that Roz was shot in the head and killed, and that, in August
and Malika complies. We then hear Ms. Glock, “I think it            2011, Malika pleaded guilty to first-degree reckless homicide
was really challenging for Malika to be without Roz because         and use of a deadly weapon. She received a 13-year sentence.
Roz showed her affection and love and validated her—she felt        After a few concluding remarks by Ms. Glock and Roz's
fairly unmoored.”                                                   family members, the episode ends.

 *4 After this point, the episode does not depict or otherwise
refer to Ms. Harp. It instead focuses on Malika's increasing        B. Plaintiff's Claims
jealousy and desire to have Roz to herself. It also shows Roz        *5 The plaintiff alleges that the episode defames her by
backing off from the relationship after becoming exasperated        falsely depicting Malika's home life as a teenager in several
by Malika's jealousy and need for attention. Allison Glock          ways. First, the plaintiff alleges that the episode falsely
states, “The sunlight of Roz went away; she felt left behind        depicts that she and Malika lived in a “tough neighborhood.”
                                                                    Second, she alleges that the episode falsely states that Malika


               Case
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                      Thomson Reuters. No claim     04/13/22
                                                to original       Page 5 of Works.
                                                            U.S. Government 20 Document 55                                      3
Harp v. Glock, Not Reported in Fed. Supp. (2019)


was “largely responsible” for her disabled sister and that,          adequately identified false statements, and, if so, (2) whether
because of this, her “home life was really challenging,”             the allegedly false statements could reasonably be thought to
resulting in “extreme stress and duress from a very early age.”      either lower the plaintiff in the estimation of the community
The plaintiff alleges that, in fact, Malika's sister was cared for   or to deter third persons from associating or dealing with her.
by an in-home health aide five days a week until she entered         The second question can be restated as asking whether the
foster care in 1998. Compls. ¶¶ 27–28. Third, the plaintiff          defendants’ statements are “capable of defamatory meaning.”
alleges that the episode falsely implies that Malika was 14          Under Wisconsin law, this is a question of law that the
years old and living at home with her mother at the time of the      court may resolve on a motion to dismiss, provided that the
shooting. See Compls. ¶¶ 15, 22. Finally, the plaintiff alleges      complaint sets forth the allegedly defamatory communication
that the episode defames Malika by not providing enough              in its full context. See Starobin v. Northridge Lakes Dev.
information about the shooting, which the plaintiff believes         Co., 94 Wis. 2d 1, 10 (1980); Dilworth v. Dudley, 75 F.3d
was accidental. Compls. ¶¶ 36–42.                                    307, 309 (7th Cir. 1996). If the statement is capable of both
                                                                     a defamatory meaning and a non-defamatory meaning, then
In addition to alleging claims for defamation, the plaintiff         the jury must decide whether the statement is defamatory.
alleges claims for intentional infliction of emotional distress      Starobin, 94 Wis. 2d at 10.
and fraudulent misrepresentation against NBCUniversal and
Ms. Glock. She also alleges a claim for unjust enrichment            The defendants initially contend that the complaints do
against Ms. Glock. These claims are based on the same facts          not comply with Federal Rule of Civil Procedure 8(a)
as the defamation claim.                                             because they do not provide notice of the specific statements
                                                                     alleged to be false and defamatory. However, although the
                                                                     plaintiff's complaints are not perfectly drafted, they provide
                                                                     the defendants with reasonable notice of the statements at
                        III. Discussion
                                                                     issue. I identified the allegedly defamatory statements in Part
To survive a Rule 12(b)(6) motion, a complaint must “state           II of this opinion. Construing the complaints liberally, as I
                                                                     must when the pleader is pro se, see, e.g., Otis v. Demarasse,
a claim to relief that is plausible on its face.”    Bell Atl.
                                                                     886 F.3d 639, 644 (7th Cir. 2018), I find that the plaintiff's
Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has
                                                                     allegations provide adequate notice of her claims.
facial plausibility when the plaintiff pleads factual content
that allows the court to draw the reasonable inference that the
                                                                      *6 Next, the defendants contend that the statements at
defendant is liable for the misconduct alleged.”    Ashcroft         issue are not capable of defamatory meaning or are not
v. Iqbal, 556 U.S. 662, 678 (2009). The complaint must, at a         actionable for other reasons. As to some of the statements, I
minimum, “give the defendant fair notice of what the claim is        agree. First, the episode's describing Ms. Harp as living in a
                                                                     “tough neighborhood” is not capable of defamatory meaning.
and the grounds upon which it rests.”        Twombly, 550 U.S.
                                                                     It is simply not the kind of statement that would cause a
at 555.
                                                                     viewer to hold a person is less esteem. 3 Second, Ms. Harp
                                                                     cannot base a defamation claim on her belief that the episode
A. Defamation                                                        implies that Malika was 14 years old and living at home
The parties agree that Wisconsin substantive law applies             with her mother at the time of her crime. The episode makes
to this case. Under that law, a defamation claim has three           clear that the shooting did not occur until after Malika and
elements: (1) a false statement, (2) communicated by speech,         Roz had graduated college and had been living together for
conduct, or in writing to a person other than the one defamed,       some time. Thus, the episode does not contain this allegedly
and (3) the communication is unprivileged and tends to harm          defamatory content. See Forrest, 507 F.3d at 542 (“A court
one's reputation, lowering him or her in the estimation of           is not bound by the party's characterization of an exhibit and
the community or deterring third persons from associating            may independently examine and form its own opinions about
or dealing with him or her.     Torgerson v. Journal/Sentinel,       the document.”). Finally, to the extent Ms. Harp alleges that
Inc., 210 Wis. 2d 524, 534 (1997). Only the first and third          the episode defamed Malika—such as by omitting details
elements are at issue in this case. Moreover, in their motions       suggesting that the shooting was accidental—she does not
to dismiss, the defendants do not assert a privilege. Thus,          state a claim, for a person may not base a defamation claim
the questions presented are (1) whether the plaintiff has            on statements that defame someone else. See 1 Rodney A.


               Case
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                                                to original       Page 6 of Works.
                                                            U.S. Government 20 Document 55                                       4
Harp v. Glock, Not Reported in Fed. Supp. (2019)


Smolla, Law of Defamation. § 4:74 (2d ed. 2018 update)               life was “really challenging” and caused her “extreme
(“there can be no vicarious defamation, or defamation through        stress and duress” are subjective evaluations of Malika's
guilt by association”).                                              circumstances rather than purely factual propositions.
                                                                     However, under Wisconsin law, “communications are not
With respect to the remaining statements, I find that they are       made nondefamatory as a matter of law merely because they
capable of defamatory meaning. The crux of Ms. Harp's claim
                                                                     are phrased as opinions, suspicions or beliefs.” Converters
is that the episode falsely asserts that she required Malika
                                                                     Equip. Corp. v. Condes Corp., 80 Wis.2d 257, 263–64 (1977).
to provide most of the care for her disabled sister and thus
                                                                     Moreover, “[w]here the defamer departs from expressing
deprived her of a normal childhood. This assertion begins
                                                                     ‘pure opinion’ and communicates what the courts have
with Ms. Glock's statement: “Malika's home life was really
                                                                     described as ‘mixed opinion,’ ... liability may result.”
challenging. She had a disabled sister whom she was, ah,
largely responsible for, and she was under extreme stress and           Bauer v. Murphy, 191 Wis. 2d 517, 540 (Ct. App.
duress from a very early age.” Glock's statement is reinforced       1995). “Mixed opinion” is a communication that blends an
by statements from the Ross family, which appear in the              expression of opinion with a statement of fact. Id. “This type
episode immediately after Glock finishes her statement. Roz's        of communication is actionable if it implies the assertion of
mother states that she thinks that Malika had to “grow up fast       undisclosed defamatory facts as the basis of the opinion.” Id.
because she had to take care of her sisters.” Roz's father adds
that Malika did not have a life of her own because her “mother        *7 Here, the allegedly defamatory statements that could
always had her watching other kids.” Finally, Roz's brother          be viewed as opinions—when understood in the context of
states that Malika “took on a lot of adult responsibilities as far   the entire episode—are based on the allegedly defamatory
as making sure her younger sister was okay and taking care           factual statement that Ms. Harp allowed Malika to provide
of her, um, disabled sister.”                                        most of the care for her disabled sister. The episode identifies
                                                                     no other potential source of Malika's “extreme stress and
The defendants contend that these statements are not capable         duress” and no other explanation for why Malika did not feel
of defamatory meaning because they simply attribute to               loved until she met Roz. Thus, the opinion-laden statements
Ms. Harp a parenting decision that others would consider             are also statements of fact that are capable of defamatory
reasonable in the context of a single-parent family with a           meaning to the extent they implicitly repeat the allegedly false
disabled child. However, I understand Ms. Harp to be alleging        representation that Malika was “largely responsible for” her
that this was not a parenting decision she actually made.            disabled sister.
Instead, she worked hard to prevent Malika from having to
bear the bulk of the responsibility for her disabled sister,         The defendants’ remaining argument for dismissal of the
including by arranging for an in-home health aide five days          defamation claim is that Ms. Harp has failed to plead
a week from 8:00 a.m. to 5:00 p.m. While either parenting            special damages. This argument is based on the distinction
decision might be respectable, it would not be unreasonable          between the two forms of defamation, libel and slander. Under
for a jury to conclude that portraying Malika as not having a        Wisconsin law, a pleader of a claim for slander must allege
real childhood because she was required to provide most of           special damages unless the alleged slander counts as slander
the care for her disabled sister harmed Ms. Harp's reputation.       per se. See Martin v. Outboard Marine Corp., 15 Wis. 2d
Instead of seeing Ms. Harp as a mom who went to great                452, 461 (1962). However, all libel is actionable without an
lengths to provide Malika with a normal childhood despite            allegation of special damages. Id. at 460–61. In the present
the challenges the family faced, the community sees Ms. Harp         case, the defendants assume that Ms. Harp's defamation claim
as a mom who allowed Malika's childhood to be consumed               is for slander, and they contend that therefore she must plead
by care for her disabled sister. A jury could reasonably find        and prove special damages or show that this case involves
that the defendant's portraying Ms. Harp as the latter when          slander per se.
in fact she was the former tended to lower her esteem in the
community.                                                           Slander is often described as defamation by spoken words,
                                                                     while libel is described as defamation in writing. See,
The defendants point out that several of the allegedly               e.g.,  Bauer, 191 Wis. 2d at 524. However, this is an
defamatory statements about Malika's childhood are opinions.         oversimplification. The Restatement (Second) of Torts § 568
For example, Glock's statements that Malika's home



               Case
               © 20221:21-cv-00510-WCG       Filed
                      Thomson Reuters. No claim     04/13/22
                                                to original       Page 7 of Works.
                                                            U.S. Government 20 Document 55                                        5
Harp v. Glock, Not Reported in Fed. Supp. (2019)


(1977)—which Wisconsin courts follow, see id.—provides a           cause-in-fact of the plaintiff's emotional distress; and (4) the
fuller explanation of the distinction:                             plaintiff suffered an extreme disabling emotional response to

  (1) Libel consists of the publication of defamatory matter       the defendant's conduct.     Rabideau v. City of Racine, 243
  by written or printed words, by its embodiment in physical       Wis. 2d 486, 501 (2001). The defendants move to dismiss
  form or by any other form of communication that has the          this claim on the ground that the complaint does not allege
  potentially harmful qualities characteristic of written or       facts suggesting that their conduct in making the allegedly
  printed words.                                                   defamatory statements was extreme and outrageous.

  (2) Slander consists of the publication of defamatory matter      *8 For conduct to be extreme and outrageous, “[t]he average
  by spoken words, transitory gestures or by any form of           member of the community must regard the defendant's
  communication other than those stated in Subsection (1).         conduct in relation to the plaintiff, as being a complete denial

  (3) The area of dissemination, the deliberate and                of the plaintiff's dignity as a person.”      Alsteen v. Gehl,
  premeditated character of its publication and the                21 Wis.2d 349, 359–60 (1963). The Seventh Circuit has
  persistence of the defamation are factors to be considered       observed that “[t]his is a high standard, and Wisconsin courts
  in determining whether a publication is a libel rather than      have been reluctant to find conduct sufficiently extreme to
  a slander.                                                       meet this test.” Kennedy v. Children's Serv. Soc'y of Wis., 17
                                                                   F.3d 980, 986 (7th Cir. 1994).
In the present case, although the allegedly defamatory
statements were spoken, they are embodied in a non-                In the present case, it is clear from viewing the episode that
transitory, physical form that anyone can view today. (Ms.         the defendants did not engage in extreme and outrageous
Glock alleges that the episode is currently available for          conduct. Even if the episode contains defamatory statements,
purchase on Amazon.com for $2.99. Compl. in 18-C-1039              no reasonable member of the community would regard the
¶ 4.) Thus, the defamatory matter is embodied in a “form           defendants as having completely disregarded the plaintiff's
of communication that has the potentially harmful qualities        dignity as a person. Indeed, although I have concluded that
characteristic of written or printed words.” Restatement           some of the defendants’ statements are capable of defamatory
(Second) of Torts § 568. Ms. Harp's claim is therefore             meaning, this was not any easy conclusion to reach. Because
properly characterized as one for libel.                           it is not obvious that the statements would even lower
                                                                   the plaintiff's reputation in the community, making those
It is true that Ms. Harp labels her cause of action “slander.”     statements certainly cannot constitute the kind of extreme
Compls. at p.15. However, under federal law, a plaintiff           and outrageous conduct necessary to support a claim for
does not have to plead legal theories or label her cause of        intentional infliction of emotional distress. Accordingly, this
action, and “specifying an incorrect legal theory is not fatal.”   claim will be dismissed.

    Bartholet v. Reishauer A.G. (Zurich), 953 F.2d 1073, 1078
(7th Cir. 1992). Here, the facts alleged add up to a claim for     C. Fraudulent Misrepresentation
libel rather than slander, and therefore I will apply the legal    Ms. Harp alleges a claim labelled “Fraudulent
rules that govern claims for libel rather than slander. Because    Misrepresentation (Deceit)” against each defendant based
an allegation of special damages is not required in an action      on the allegedly defamatory statements. However, Ms.
for libel, I may not dismiss the complaint based on Ms. Harp's     Harp misunderstands the nature of a claim for fraud or
supposed failure to plead them.                                    misrepresentation. A plaintiff may not bring such a claim
                                                                   whenever a person makes an allegedly false statement
                                                                   that harms the plaintiff. Instead, a claim for fraud or
B. Intentional Infliction of Emotional Distress
                                                                   misrepresentation may be brought only when the plaintiff
Ms. Harp alleges that the defendants’ defamatory statements
give rise to a claim for intentional infliction of emotional       believes the misrepresentation. See, e.g.,           Tietsworth
distress. Under Wisconsin law, such a claim has four               v. Harley-Davidson, Inc., 270 Wis.2d 146, 157 (2004)
elements: (1) the defendant's conduct was intentioned to           (“All misrepresentation claims share the following required
cause emotional distress; (2) the defendant's conduct was          elements: 1) the defendant must have made a representation
extreme and outrageous; (3) the defendant's conduct was a          of fact to the plaintiff; 2) the representation of fact must be



               Case
               © 20221:21-cv-00510-WCG       Filed
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                                                to original       Page 8 of Works.
                                                            U.S. Government 20 Document 55                                      6
Harp v. Glock, Not Reported in Fed. Supp. (2019)


                                                                       no benefit on Ms. Glock, and therefore her claim for unjust
false; and 3) the plaintiff must have believed and relied on
                                                                       enrichment will be dismissed.
the misrepresentation to his detriment or damage.”). In the
present case, the plaintiff does not allege that the episode
contains false statements that she believed. Nor could she,
as she obviously knows what happened in her own life.                                         IV. Conclusion
Accordingly, her claim for fraudulent misrepresentation will
be dismissed.                                                          For the reasons stated, IT IS ORDERED that the defendants’
                                                                       motions to dismiss (ECF No. 24 in Case No. 18-C-1039 and
                                                                       ECF No. 16 in Case No. 18-C-1159) are GRANTED IN
D. Unjust Enrichment                                                   PART and DENIED IN PART.
Finally, Ms. Harp alleges a claim against Allison Glock for
unjust enrichment, contending that Ms. Glock is unjustly                *9 IT IS FURTHER ORDERED that the plaintiff's motion
profiting from the sale of the allegedly defamatory episode on         to amend her complaint (ECF No. 38 in the lead case) is
Amazon.com. However, Ms. Harp misunderstands the nature                DENIED.
of a claim for unjust enrichment. A defendant is not liable for
unjust enrichment whenever he or she profits from something            FINALLY, IT IS ORDERED that the plaintiff's motion for
that harms the plaintiff. Instead, a claim for unjust enrichment       summary judgment (ECF No. 31 in Case No. 18-C-1039) is
may be brought only when the plaintiff confers a benefit               DENIED.
on the defendant under circumstances making it inequitable
for the defendant to retain the benefit without payment of
                                                                       All Citations
its value. See, e.g.,  Sulzer v. Diedrich, 258 Wis.2d 684,
692 (Ct. App. 2002). In the present case, Ms. Harp conferred           Not Reported in Fed. Supp., 2019 WL 1859258




                                                           Footnotes


1      The episode refers to Ms. Ross and Ms. Willoughby by their first names. I will follow this practice when
       describing the contents of the episode.
2      Ms. Harp is never identified by name in the episode, and her actual likeness is never shown. However, the
       defendants do not dispute that viewers who know Ms. Harp would understand the portions of the episode
       depicting or referring to Malika's mother as referring to her.
3      I also note that the episode contradicts the plaintiff's claim that the episode “stated and showed that the
       family lived in the rough neighborhood of Harambee that is infested with dilapidated, boarded-up homes.”
       Compls. ¶ 15. The episode never states that the family lived in Harambee, and the footage of the residential
       neighborhood does not show that it was “infested with dilapidated, boarded-up homes.” The depicted
       neighborhood is not glamorous, to be sure, but it is not the kind of scene that normally comes to mind when
       one thinks of a “rough neighborhood.”


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               Case
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                      Thomson Reuters. No claim     04/13/22
                                                to original       Page 9 of Works.
                                                            U.S. Government 20 Document 55                                          7
Hart v. Dow Chemical, Not Reported in F.Supp. (1998)


                                                                  claims against Terminix are based, in part, on allegations
                                                                  of exposure to chlorpyrifos, which now, as a matter of
      KeyCite Yellow Flag - Negative Treatment                    law, cannot be proven. Accordingly, Terminix's motion for
Distinguished by Flournoy v. Ghosh, N.D.Ill., November 28, 2011
                                                                  summary judgment is granted only with respect to exposure
                                                                  to chlorpyrifos, not heptachlor or chlordane.
                    1998 WL 151815
      Only the Westlaw citation is currently available.
        United States District Court, N.D. Illinois.
                                                                                 Standard of Review of a R & R
              Melissa and John Hart, Plaintiffs,
                             v.                                   Under      28 U.S.C. § 636(b)(1) and Fed.R.Civ.P. 72(b), a
             Dow CHEMICAL, et al. Defendants.                     district court reviewing a R & R must make a de novo
                                                                  determination of those portions of the magistrate judge's R &
                         No. 95 C 1811.
                                                                  R to which an objection is made. A district court may also
                                |
                                                                  review any issue de novo, even if no party objects. Delgado
                         March 27, 1998.
                                                                  v. Bowen, 782 F.2d 79, 82 (7th Cir.1986). When no timely
                                                                  objection is filed, however, the court in determining whether
                                                                  to accept the R & R is only required to satisfy that the R
              MEMORANDUM AND ORDER                                & R is not clearly erroneous to accept it. See Fed.R.Civ.P.
                                                                  72 advisory committee's note to the 1983 amendment, citing
MANNING, District Court J.
                                                                     Campbell v. U.S. Dist. Court, 501 F.2d 196, 206 (9th Cir.),
 *1 This matter comes before the court on objections              cert denied, 419 U.S. 879, 95 S.Ct. 143, 42 L.Ed.2d 119
by plaintiffs, Melissa and John Hart (Harts) to the report        (1974); see also Resolution Trust Corp. v. S & K Chevrolet,
and recommendation issued by Magistrate Judge Keys on             868 F.Supp. 1047, 1052 (C.D.Ill.1994); Walker v. Hood, 679
September 16, 1997(R & R). The court previously addressed         F.Supp. 372, 374 (S.D.N.Y.1988).
the Harts' objections to Judge Keys' R & R in its September
30, 1997 Order. The court, however, reserved ruling on            The court has the discretion to “accept, reject or modify the
whether to adopt Judge Keys' R & R to deny plaintiffs'            recommended decision, receive further evidence, or recommit
motions to vacate default admissions and strike defendant         the matter to the magistrate judge with instructions.”
Terminix's motion for summary judgment, or instead to grant       Fed.R.Civ.P. 72(b); Delgado v. Bowen, 782 F.2d at 82.
defendant Terminix's motion for summary judgment. The             Judicial efficiency, however, requires parties to present their
parties were granted leave to further brief the issue.            arguments to the magistrate judge in the first instance, as
                                                                  the review procedure is not an opportunity to present new
Upon further review of the parties' supplemental briefs and       arguments not considered by the magistrate judge. Scholes
the record, the court finds that Magistrate Judge Keys erred in   v. Stine, McGuire & Benjamin, 786 F.Supp. 1385, 1394 n.
concluding that the requests for admissions were received on      8 (N.D.Ill.1992). It is with these principles in mind that the
January 20, 1997. To the contrary, the record reveals that the    court reviews the R & R and the parties' objections to those
defendants sought and received permission to begin discovery      portions.
at a Rule 26(f) conference held before Magistrate Judge
Gottshcall on September 23, 1996. The Dow defendants
served the requests for admissions on October 23, 1996
and plaintiffs' counsel did not respond within thirty days as                            DISCUSSION
required by Rule 36(a). Moreover, based on the evidence
                                                                   *2 The Harts assert that the Dow defendants' request for
presented by the defendants, the court is convinced that it
                                                                  admissions were improper and that the default admissions
is unlikely that the Harts or their counsel did not receive
                                                                  should be vacated by the court. The grounds for withdrawing
notice as to the existence of the Requests for Admissions.
                                                                  the default admissions proposed by the Harts are: (1) the
Due to their failure to respond, the Harts have admitted
                                                                  request for admissions were made without first convening
by default that they have no proof that their injuries were
                                                                  a Rule 26(f) discovery conference; (2) the Harts did not
caused by exposure to the chemical “chlorpyrifos.” The Harts'
                                                                  receive copies of the requests for admissions until January 17,


               Case  1:21-cv-00510-WCG
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                                                 to original      Page 10 ofWorks.
                                                             U.S. Government 20 Document 55                                   1
Hart v. Dow Chemical, Not Reported in F.Supp. (1998)


1997 and that they timely responded by filing their motion         class allegations. Regardless of who the Harts eventually
to establish service date of the request, or in the alternative,   intended to sue, causation would remain a critical issue in the
motion to withdraw the admissions, and; (3) the Harts have         litigation.
repeatedly disclosed to the defendants and the court that
they possess evidence contrary to the facts asserted in the         *3 Unsurprisingly, at a March 1, 1996 status hearing,
admissions.                                                        Dean Barnhard, counsel for the Dow defendants, requested
                                                                   permission to begin written discovery on the medical
In response, defendant Terminix asserts that the request for       causation issue. Barnhard wanted written discovery regarding
admissions were proper because: (1) the parties convened a         causation to begin because there were genuine Daubert
Rule 26(f) conference thus satisfying the requirements for the     concerns as to the admissibility of the opinion of the
Rule 36 request for admissions; (2) on October 22, 1996, the       Harts' expert Dr. Robert K. Simon, on the causation issue.
requests for admissions were sent along with interrogatories       Barnhard's request was clear and unambiguous—he wanted
to all of the parties, including the Harts, as acknowledged        to conduct discovery on causation issue to “put the case
in sworn affidavits of the other defendants; (3) the Harts         to bed.” (Tr. of Status Hr'g before Mag. J. Gottschall, 8).
failed to timely respond to the requests for admissions despite    Judge Gottschall granted defendants leave to file “any written
constructive notice provided by reference to their existence       discovery.” The only limitation imposed on the scope of
contained in interrogatories which the Harts admit they            discovery was that Judge Gottschall cautioned that the Harts
received on October 22, 1997, and; (4) the Harts waived any        should not be expected to answer contention interrogatories
objections to the propriety of the default admissions since        before the amended complaint was on file. The amended
they did not object to the interrogatories served upon them        complaint was filed May 10, 1996 and was later followed by a
pursuant to Rule 33, which, if the Harts' assertion is correct,    second amended complaint on July 24, 1996. It is undisputed
would have also been improper on the theory that no Rule           that the interrogatories were sent—nearly five months later—
26(f) conference was convened.                                     on October 22, 1996.

                                                                   The plain meaning of the rules make it clear that requests for
                                                                   admissions cannot be made prior to the Rule 26(f) conference.
                    Compliance with 26(f)
                                                                   The Harts assert that Rule 36(a) is “not a method of
“[R]equests for admission may not be served before the time        discovery” and that requests for admissions were premature
specified in [a Rule 26(d) discovery conference] ... and [t]he     because no Rule 26(f) conference was convened. Strictly
matter is admitted unless, within 30 days after service of the     speaking, requests for admissions pursuant to Fed.R.Civ.P.
request ... the party to whom the request is directed serves       Rule 36(a) are not discovery tools because the requests are not
upon the party requesting the admission a written answer           used to ascertain whether information exists. To the contrary,
or objection addressed to the matter ....” Fed.R.Civ.P. 36(a).     requests for admissions eliminate issues from contention at
“Except when authorized under these rules or by local rule,        trial and expedite the litigation process. See   Misco, Inc.
order, or agreement of the parties, a party may not seek           v. U.S. Steel Corp., 784 F.2d 198 (6th Cir.1986). The fact
discovery from any source before the parties have met and          remains, however, that requests for admissions are governed
conferred as required by subdivision (f).” Fed.R.Civ.P. 26(d).     by Rule 36(a). Once Judge Gottschall granted defendants'
The court finds that Judge Keys erred only in concluding that      request to begin written discovery, the Harts were obligated
the Harts received the requests for admissions on January 20,      to respond to the requests for admissions.
1997.
                                                                   The requests for admission being sought were relevant to
On October 12, 1995, the Harts moved to establish a                causation. All of the parties knew that the basis for the
discovery schedule pursuant to Rule 26(f). On October 18,          Harts' claim depended on causation. Indeed causation is the
1995, (then) Magistrate Judge Gottschall held a status hearing     critical element. It made perfect sense to resolve preliminary
at which she granted the Harts' motion and established a           causation concerns before beginning full-blown litigation.
discovery schedule. Because the Harts' original complaint          Otherwise, the court would have run the risk of compelling
alleged class allegations, Judge Gottschall extended class         the defendants to litigate a case in which they might not be
discovery until December 31, 1995. Subsequently, the Harts         liable as a matter of law. If the Harts' needed more time to
announced their plan to amend their complaint to drop the          prepare for this issue, they could have sought additional time


              Case  1:21-cv-00510-WCG
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                                                to original      Page 11 ofWorks.
                                                            U.S. Government 20 Document 55                                     2
Hart v. Dow Chemical, Not Reported in F.Supp. (1998)


or objected to the form or scope of the requests if they deemed    caused by Terminix's application of pesticides in their home.
them to be objectionable; no objections were made.                 Yet, none of the reports submitted by plaintiffs' counsel state
                                                                   that any of the chemicals at issue in this action—dursban,
Of course, the Harts have a reasonable explanation; they           chlordane, heptachlor, or chlorpyrifos—caused the Harts'
did not respond to the requests for admissions because they        injuries. To the contrary, the reports merely tell us, to no
were never received. The Harts' explanation while possible,        great surprise, that there were levels of insecticide in their
is highly implausible, in light of the evidence presented          home. Simply put, the Harts still do not know, nor have they
by opposing counsel. The Harts admit that they received            been able to produce evidence showing, what caused their
interrogatories and requests for production on October 22,         injuries; a particularly troubling prospect in light of the fact
1993, but that it contained no requests for admissions. All        that they have had almost three years to establish a cause but
of the defendants, however, executed sworn affidavits stating      yet appear to be no closer to finding it. The record reveals
that they received copies of the discovery request 1 which was     no facts which remotely suggest that accepting the default
sent to the plaintiffs and that the requests for admissions were   admission will subserve the merits of this case. Accordingly,
indeed included. Ironically, the Harts are the only persons        the default admissions will stand.
on the entire service list who purportedly did not receive
the requests for admissions. Even assuming that the requests
were omitted, plaintiffs' counsel should have been aware that                           Summary Judgment
the requests for admissions existed due to the fact that the
interrogatories and requests for production—which plaintiffs'      The court finds no error with Judge Keys' conclusion that
counsel admits receiving—directly refer to the requests for        summary judgment is appropriate in light of the default
admissions. Accordingly, the court concludes that the Harts        admissions. Despite the harsh result of such an application,
were, in fact, served with Requests for Admissions which           the Seventh Circuit has clearly stated that “[a]dmissions
fully complied with Rules 36 and 26(f).                            made under Rule 36, even default admissions, can serve
                                                                   as the factual predicate for summary judgment.”          U.S. v.
 *4 The Harts, in their supplemental brief, contend that they
                                                                   Kasuboski, 834 F.2d 1345, 1350 (7th Cir.1987); Skolnick
complied with Rule 36(a) by responding to the requests for
                                                                   v. Puritan Pride, Walgreen, Inc., 1995 WL 215178 at *2
admissions on April 15, 1997. Their argument is premised
                                                                   (N.D.Ill. April 10, 1995). Plaintiffs' counsel correctly asserts
on the false assumption that the requests were premature or
                                                                   that plaintiffs' original complaint is controlling since the
alternatively never served. As addressed earlier, the court
                                                                   subsequent amended complaints have been stricken. The
rejects both of these arguments. Accordingly the court finds
                                                                   Dow defendants did not request admissions as to whether
that the Harts are in default and are deemed to have admitted
                                                                   chlordane and heptachlor had caused their injuries. Terminix
that they are unable to show that their injuries were caused
                                                                   clearly acknowledges this fact by making its own request
by chlorpyrifos.
                                                                   for admissions regarding chlordane and heptachlor to which
                                                                   plaintiffs' counsel responded on April 15, 1997. Accordingly,
                                                                   the court grants summary judgment in favor of Terminix on
             Withdrawal of Default Admissions                      the issue of liability with respect to chlorpyrifos-containing
                                                                   products.
The Harts now move to withdraw the default admissions
pursuant to Rule 36(b). The court may allow the withdrawal
and/or amendment of previous admissions if “the presentation
of the merits will be subserved thereby and the party                              Dismissal of Dow Defendants
who obtains the admissions fails to satisfy the court that
                                                                    *5 Due to a discrete oversight, the September 30, 1997
withdrawal or amendment will prejudice that party.” Bell &
                                                                   Order indicated only that the Dow defendants were dismissed
Howell Acceptance Corp. v. Sellers Sales & Serv., Inc., 1992
                                                                   from this suit, when in fact, the dismissal was intended to
WL 18872, *3–4 (N.D.Ill. Jan.28, 1992).
                                                                   be with prejudice. Accordingly, the court dismisses the Dow
                                                                   defendants with prejudice nunc pro tunc.
Permitting withdrawal in this action will not promote a full
presentation of the merits of this case. The Harts purport
to produce evidence showing that their injuries were in fact


              Case  1:21-cv-00510-WCG
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                                                to original      Page 12 ofWorks.
                                                            U.S. Government 20 Document 55                                      3
Hart v. Dow Chemical, Not Reported in F.Supp. (1998)



                         Conclusion
                                                                     All Citations
For the reasons stated above summary judgment is granted in
favor of Terminix as it relates to whether chlorpyrifos caused       Not Reported in F.Supp., 1998 WL 151815
the Harts' injuries.




                                                         Footnotes


1      The Discovery Request was comprised of:
         (1) First Set of Requests to Admit to Plaintiff Melissa Hart; (2) Request for Production to Plaintiff Melissa
         Hart; (3) First Set of Interrogatories to Plaintiff Melissa Hart; (4) First Set of Requests to Admit to Plaintiff
         John Hart; (5) Request for Production to Plaintiff John Hart; (6) First Set of Interrogatories to Plaintiff John
         Hart.


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              Case  1:21-cv-00510-WCG
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                                                to original      Page 13 ofWorks.
                                                            U.S. Government 20 Document 55                                        4
Long v. Alcoa Inc., Not Reported in F.Supp.2d (2010)


                                                               Defendant has moved to dismiss Plaintiff's complaint on two
                  2010 WL 3338559                              grounds [See Defendant's Memorandum of Law in Support
     Only the Westlaw citation is currently available.         of its Motion to Dismiss, Doc. 4]. First, Defendant argues
                                                               that Plaintiff's state law claims are preempted by Section
      This decision was reviewed by West editorial             301 of the Labor Management Relations Act. [Id.]. Second,
     staff and not assigned editorial enhancements.            Defendant argues that even if Plaintiff's state law claims
                                                               are not preempted, those claims fail to state a cause of
       United States District Court, E.D. Tennessee.           action under Tennessee law. [Id.]. Plaintiff has responded by
                                                               arguing that his claims are not preempted by federal law [See
                Edsel L. LONG, Plaintiff,
                                                               Plaintiff's Response in Opposition to Defendant's Motion to
                        v.                                     Dismiss, Doc. 13].
                ALCOA INC., Defendant.
                                                               Under Rule 12 of the Federal Rules of Civil Procedure, a
                     No. 3:09–CV–547.
                                                               court must “construe the complaint in the light most favorable
                             |
                                                               to the plaintiff, accept its allegations as true, and draw all
                      Aug. 24, 2010.
                                                               reasonable inferences in favor of the plaintiff.” DIRECTV,
Attorneys and Law Firms                                        Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir.2007). The Court,
                                                               however, “need not accept as true legal conclusions or
Roy P. Neuenschwander, Law Office of               Roy    P.
Neuenschwander, Knoxville, TN, for Plaintiff.                  unwarranted factual inferences.” Id. (quoting     Gregory v.
                                                               Shelby County, 220 F.3d 433, 446 (6th Cir.2000)). To survive
Betsy J. Beck, Robert L. Bowman, Kramer, Rayson LLP,           a motion to dismiss, the “[f]actual allegations contained
Knoxville, TN, Kurt G. Larkin, Hunton & Williams,              in [the] complaint must ‘raise a right to relief above the
Richmond, VA, Scot A. Hinshaw, Hunton & Williams, LLP,
                                                               speculative level.’ ”     Bassett v. Nat'l Collegiate Athletic
Washington, DC, for Defendant.
                                                               Ass'n, 528 F.3d 426, 430 (6th Cir.2008) (quoting            Bell
                                                               Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955,
            MEMORANDUM AND ORDER                               1965, 167 L.Ed.2d 929 (2007)). This “does not ‘require
                                                               heightened fact pleading of specifics, but only enough facts
THOMAS W. PHILLIPS, District Judge.                            to state a claim to relief that is plausible on its face.’ ” Id.

*1 This matter is before the Court on the following motions:   (quoting    Twombly, 127 S.Ct. at 1974).

  ◼ Defendant's Motion to Dismiss [Doc. 3];                    Although denominated as a motion to dismiss, Defendant
                                                               has really filed a motion for summary judgment. Both
  ◼ Plaintiff's Motion for Summary Judgment [Doc. 7];          the Defendant and Plaintiff request that the Court consider
                                                               matters not properly of record or before the Court, and Rule
  ◼ Plaintiff's Motion to Remand [Doc. 13];
                                                               12 of the Federal Rules of Civil Procedure was not intended
  ◼ Joint Motion to Stay Discovery [Doc. 27].                  as a substitute for summary judgment under Rule 56. Because
                                                               Defendant's Motion to Dismiss [Doc. 3] is actually a motion
For the following reasons, Defendant's Motion to Dismiss       for summary judgment, and because there is an insufficient
[Doc. 3] is DENIED, Plaintiff's Motion for Summary             record before the Court, this motion is DENIED.
Judgment [Doc. 7] is DENIED, Plaintiff's Motion to Remand
[Doc. 13] is DENIED, and the Joint Motion to Stay Discovery
                                                                  B. Plaintiff's Motion for Summary Judgment [Doc. 7]
[Doc. 27] is GRANTED. The Court addresses each motion
                                                               Plaintiff has moved for summary judgment based on the
in turn.
                                                               Defendant's failure to respond to Plaintiff's First Set of
                                                               Requests for Admissions (“Request”) that were filed in
I. ANALYSIS                                                    the prior state court proceeding [See Plaintiff's Motion for
                                                               Summary Judgment, Doc. 7]. The Request was filed on
  A. Defendant's Motion to Dismiss [Doc. 3]


             Case  1:21-cv-00510-WCG
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                                               to original      Page 14 ofWorks.
                                                           U.S. Government 20 Document 55                                   1
Long v. Alcoa Inc., Not Reported in F.Supp.2d (2010)


November 30, 2009. This case was removed to federal court         [See Plaintiff's Motion for Summary Judgment, Doc. 7].
on December 10, 2009.                                             This is not a proper basis for summary judgment. On
                                                                  January 7, 2010, United States Magistrate Judge C. Clifford
 *2 Defendant argues that because the parties had not             Shirley filed a Memorandum and Order in which he stayed
conducted a Rule 26(f) discovery conference at the time           all discovery requests prior to the parties holding a Rule
the motion for summary judgment was filed, Defendant was          26(f) conference. [Order Granting Defendant's Motion for
not required to respond to the Request. [See Defendant's          Protective Order, Doc. 11]. In that Order, Judge Shirley made
Response in Opposition to Plaintiff's Motion for Summary          clear that “[n]either party shall seek discovery before the
Judgment, Doc. 17]. On January 5, 2010, Plaintiff filed the       [Rule 26(f) ] conference, nor is either party obligated to
Motion for Summary Judgment [Doc. 7]. On April 1, 2010,           respond to outstanding discovery prior to the conference.” [Id.
the parties held a Rule 26(f) conference. [See Report of Rule     at 3]. In fact, Judge Shirley recognized that the Defendant was
26(f) Planning Meeting, Doc. 26]. During the Rule 26(f)           not required to comply with the Request until after the parties
conference, Defendant agreed to respond to the Request on or      held a Rule 26(f) conference:
before April 19, 2010. [Id ].

Under Rule 56(c) of the Federal Rules of Civil Procedure,                         *3 This matter having been
a court may grant summary judgment only when there is no                         removed the Court finds that the
genuine issue of material fact and the moving party is entitled                  parties are prohibited from seeking
to judgment as a matter of law. Fed.R.Civ.P. 56(c). The Court                    discovery from one another until
must construe the facts and draw all inferences therefrom in                     a Rule 26(f) conference has been
the light most favorable to the party opposing the motion.                       conducted. As to the outstanding
   Matsushita Elec. Indus. Co. v. Zendith Radio Corp., 475                       discovery requests ... the Court
U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). A                          finds that, because discovery in
genuine issue of material fact exists if “the evidence is such                   this matter is currently prohibited
that a reasonable jury could return a verdict for the nonmoving                  pending a Rule 26(f) conference, the
                                                                                 interests of judicial economy and
party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248,                      consistency with the intent of the
106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). The moving party                          Federal Rules of Civil Procedure
bears the initial burden of demonstrating the absence of a                       support staying further discovery in
genuine issue of material fact.  Celotex Corp. v. Catrett,                       this matter until the parties have
477 U.S. 317, 323, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986);                        conferred pursuant to Rule 26(f).

see also, e.g.    Bridgeport Music, Inc. v. WB Music Corp. .,
508 F.3d 394, 397 (6th Cir.2007) (“The moving party bears
the initial burden of demonstrating the absence of any genuine    [Id. at 2–3] [emphasis added]. This Order was based upon
issue of material fact, and all inferences should be made in      Rule 26(d)(1) of the Federal Rules of Civil Procedure, which
favor of the non-moving party.”). With regard to issues where     provides that “[a] party may not seek discovery from any
the moving party will not bear the ultimate burden of proof at    source before the parties have conferred as required by Rule
trial, “the burden on the moving party may be discharged by       26(f).” Fed.R.Civ.P. 26(d)(1).
‘showing’ ... that there is an absence of evidence to support
                                                                  When Plaintiff filed the Motion for Summary Judgment [Doc.
the nonmoving party's case.” Celotex, 477 U.S. at 325. The        7], the parties had not yet conducted a Rule 26(f) conference.
burden then shifts to the non-moving party to demonstrate the     Therefore, any requests for discovery—which includes
existence of genuine issues of material fact. Id. at 324. If      requests for admissions under Rule 36 of the Federal Rules
the non-moving party fails to meet this burden, the moving        of Civil Procedure—were premature and cannot support a
party is entitled to summary judgment.                            motion for summary judgment. See DIRECTV, Inc. v. DeVries,
                                                                  302 F.Supp.2d 837, 839 n. 2 (W.D.Mich.2004) (recognizing
Plaintiff argues that summary judgment is appropriate             that a “request for admission was premature and therefore not
because Defendant failed to respond to the Request, and           a valid basis for his summary judgment motion”). Because
therefore admitted all statements contained in the Request.       Defendant was not required to respond to the Request,


              Case  1:21-cv-00510-WCG
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                                                to original      Page 15 ofWorks.
                                                            U.S. Government 20 Document 55                                    2
Long v. Alcoa Inc., Not Reported in F.Supp.2d (2010)


                                                                      to Dismiss [Doc. 3] and Plaintiff's Motion for Summary
Plaintiff could not rely upon Defendant's failure to respond
                                                                      Judgment [Doc. 13]. The parties also request that the Court
as a basis for summary judgment. Accordingly, Plaintiff's
                                                                      stay all discovery to allow the parties to complete formal
Motion for Summary Judgment [Doc. 7] is DENIED.
                                                                      mediation. [Id.].

   C. Plaintiff's Motion to Remand [Doc. 13]                          The Court finds the request well-taken. In particular, staying
On January 19, 2010, Plaintiff filed a Response to Defendant's        this proceeding will preserve judicial resources in the event
Motion to Dismiss, which also included a Motion to Remand             that this case is resolved through mediation. Accordingly, all
[Doc. 13]. Plaintiff requests that the Court “remand this case        proceedings in this case are STAYED UNTIL DECEMBER
back to State court which has appropriate jurisdiction.” [Id.         31, 2010, or until the Court is notified of mediation results
at 19]. Plaintiff does not explain why this case should be            (whatever is earlier). The parties shall notify the Court within
                                                                      sixty (60) days from entry of this Order the identity of the
remanded pursuant to      28 U.S.C. § 1447(c).
                                                                      mediator who will conduct the mediation and of the date, time
                                                                      and place for the mediation. It is FURTHER ORDERED that
In deciding remand motions based on lack of jurisdiction,
                                                                      the parties, their representatives and/or actual decisionmakers
the Court looks at whether it had jurisdiction at the time of
                                                                      for the parties, including persons with actual settlement
removal. In this case, removal was based upon the Court's
                                                                      authority on behalf of all the parties to this litigation, shall be
jurisdiction under   28 U.S.C. § 1332. That statute requires          present for the mediation, which should be scheduled to occur
complete diversity between the parties and that “the matter           prior to NOVEMBER 29, 2010. The parties shall promptly
in controversy exceed the sum or value of $75,000, exclusive          notify the Court of the results of the mediation. If the case is
of interest and costs.”      28 U.S.C. § 1332(a). In this case,       not resolved through mediation, the Stay shall be lifted.
Plaintiff is a resident of the State of Tennessee. [See Notice
of Removal, Doc. 1 at 2]. Defendant is incorporated in the
                                                                      II. CONCLUSION
State of Pennsylvania and has its principal executive office in
                                                                      For the foregoing reasons, Defendant's Motion to Dismiss
New York. [Id ]. In addition to complete diversity, the amount
                                                                      [Doc. 3] is DENIED, Plaintiff's Motion for Summary
in controversy exceeds $75,000.00 exclusive of interest
                                                                      Judgment [Doc. 7] is DENIED, Plaintiff's Motion to Remand
and costs. [See Plaintiff's Second Amended Complaint as
                                                                      [Doc. 13] is DENIED, and the Joint Motion to Stay Discovery
removed from state court, Doc. 1–1 at 49–50]. At the time this
                                                                      [Doc. 27] is GRANTED.
case was removed to federal court, the Court had jurisdiction
under 28 U.S.C. § 1332. Accordingly, Plaintiff's Motion to            IT IS SO ORDERED.
Remand [Doc. 13] is DENIED.

                                                                      All Citations
   D. Joint Motion to Stay Discovery [Doc. 27]
 *4 On August 5, 2010, the parties jointly moved to stay              Not Reported in F.Supp.2d, 2010 WL 3338559
all discovery pending disposition of Defendant's Motion

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              Case  1:21-cv-00510-WCG
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                                                to original      Page 16 ofWorks.
                                                            U.S. Government 20 Document 55                                            3
Thompson v. Fred's Stores of Tennessee, Inc., Not Reported in F.Supp.3d (2015)



                                                                  agreed on a discovery plan as required by Rule 26(f). 3 Fred's
                    2015 WL 5655948                               further argued that assuming for the sake of argument that
      Only the Westlaw citation is currently available.           it did miss the deadline to respond to plaintiff's requests
             United States District Court, S.D.                   for admission, then pursuant to Rule 36(b), 4 it should be
              Mississippi, Northern Division.                     allowed to withdraw or amend the deemed admissions since
                                                                  plaintiff had suffered no prejudice. 5 Thereafter, on July 31,
           Angela THOMPSON, Plaintiff
                                                                  2015, Fred's filed a notice of service of responses to plaintiff's
                      v.
                                                                  requests for admission.
  FRED'S STORES OF TENNESSEE, INC. d/b/a Fred's
    # 1090; Stirling Properties, LLC; et al., Defendants.         In response to the motion to stay, and in her rebuttal in support
                                                                  of her Notice of Deemed Admissions, plaintiff contended
           Civil Action No. 3:15CV102TSL–RHW.
                                                                  that service of her requests for admission was not premature
                               |
                                                                  under Rule 26(f) as the parties, within the time prescribed
                    Signed Sept. 24, 2015.
                                                                  by that rule, had communicated via email and telephone and
Attorneys and Law Firms                                           clearly stipulated to proceeding with discovery. 6 Plaintiff
                                                                  responded in opposition to the motion to stay, contending no
Warren L. Martin, Jr., Warren L. Martin, Jr., PA, Jackson, MS,    stay was needed as the parties had agreed to proceed with
for Plaintiff.                                                    discovery. She further moved for an award of attorney's fees
                                                                  and costs as sanctions under Rule 11 relative to responding to
Amanda Green Alexander, Brittany D. Smith, Alexander
                                                                  Fred's motion to stay and Fred's alleged untimely response to
Law, PA, Jackson, MS, for Defendant.
                                                                  plaintiff's requests for admission; she contended that an award
                                                                  of attorney's fees and costs was warranted, particularly in
                                                                  view of Fred's false assertion that the parties had not conferred
         MEMORANDUM OPINION AND ORDER
                                                                  or agreed to a discovery plan.
TOM S. LEE, District Judge.
                                                                  On August 17, 2015, Fred's filed a motion to withdraw,
 *1 On July 24, 2015, plaintiff Angela Thompson moved             or in the alternative, amend deemed admitted requests for
pursuant to Federal Rules of Civil Procedure 56, 12(c) and        admission pursuant to Rule 36(b), taking the position that
26 for summary judgment or, in the alternative, for judgment      she would not be prejudiced by the withdrawal. Fred's
on the pleadings as to defendant Fred's Stores of Tennessee,      contemporaneously filed a response to plaintiff's summary
Inc. (Fred's) based on Fred's alleged failure to timely respond   judgment/judgment on the pleadings motion, asserting that
to plaintiff's requests for admissions, which were served         since the motion is based solely on the deemed admissions,
on Fred's on June 3, 2015 and covered all the substantive         then a ruling on plaintiff's motion for summary judgment/
allegations in plaintiff's complaint. She contemporaneously       judgment on the pleadings is premature until the court has
filed a “Notice of Deemed Admitted Requests for Admissions        ruled on Fred's outstanding motion to withdraw or amend the
to Defendant, Fred's Stores of Tennessee, Inc.” (Notice           deemed admitted requests for admission.
of Deemed Admissions) pursuant to Rule 36(a). 1 In her
submissions, plaintiff asserted that based on the matters          *2 Based on its consideration of the parties' various motions
deemed admitted, there is no genuine issue of material fact       and related submissions described herein, the court is of
and plaintiff is entitled to summary judgment or judgment on      the opinion that at the time plaintiff served her requests
                                                                  for admission, the parties had not conferred and developed
the pleadings. 2
                                                                  a discovery plan within the contemplation of Rule 26(d).
                                                                  The court so finds, irrespective of Fred's counsel's statement
On July 27, 2015, Fred's filed a response in opposition
                                                                  in her June 3 email to plaintiff's counsel that it was her
to plaintiff's Notice of Deemed Admissions and a separate
                                                                  “understanding that the scheduling of the case management
motion to stay discovery. In both submissions, Fred's took the
                                                                  conference will not impact the submission of discovery
position that under Rule 26(d)(1) and (f), plaintiff's requests
                                                                  responses.” Her understanding was incorrect, as Rule 26
for admission were premature because at the time she served
                                                                  plainly states: “A party may not seek discovery from any
her requests for admission, the parties had not conferred and


              Case  1:21-cv-00510-WCG
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                                                to original      Page 17 ofWorks.
                                                            U.S. Government 20 Document 55                                       1
Thompson v. Fred's Stores of Tennessee, Inc., Not Reported in F.Supp.3d (2015)


source before the parties have conferred as required by Rule
26(f),” unless the proceeding is one exempt from initial                 *3 [I]t is proper to consider whether denying withdrawal
disclosure under Rule 26(a)(1)(B)—which is not the case                 would have the practical effect of eliminating any
here—“or when authorized by these rules, by stipulation,                presentation of the merits of the case in determining
or by court order.” At the time the requests for admission              whether Rule 36(b)'s first requirement is met, see, e.g.,
were served, there was no court order authorizing discovery.                Hadley v. United States, 45 F.3d 1345, 1348 (9th
The rules did not authorize discovery. And nothing has                  Cir.1995), this and other courts have not relied solely on
been submitted to show that the parties had conferred and               this factor in determining whether to permit withdrawal.
developed a discovery plan or had stipulated to proceeding              Even where the presentation of the merits of a case
with discovery notwithstanding that they had not done                   would be eliminated, other factors considered are whether
so. Fred's demand in that email that plaintiff respond                  the [party seeking withdrawal] has demonstrated that the
to its outstanding discovery requests does not qualify as               merits would be served by advancing evidence showing
“conferring” or as a “discovery plan” or as a “stipulation.”            “the admission is contrary to the record of the case,” or
Thus, despite what Fred's counsel stated in the email, plaintiff        that the admission “is no longer true because of changed
was not required to respond to Fred's then-outstanding                  circumstances or [that] through an honest error a party
discovery requests as they had been filed in violation of               has made an improvident admission.” ... This circuit has
Rule 26(f)(1). 7 Likewise, Fred's was not required to respond           also determined that a court acts within its discretion in
to plaintiff's requests for admission, as the requests for              considering the fault of the party seeking withdrawal,
admission were also filed in violation of Rule 26(f)(1).                   Pickens v. Equitable Life Assurance Soc., 413 F.2d
Of course, given that Fred's did timely respond to the                  1390, 1394 (5th Cir.1969), or its diligence in seeking
interrogatories and request for production of documents that            withdrawal, Covarrubias v. Five Unknown INS/Border
plaintiff filed at the same time as the requests for admission, it      Patrol Agents, 192 F. App'x 247, 248 (5th Cir.2006) (per
is apparent that Fred's did not fail to respond to the requests for     curiam) (unpublished).
admission because it believed the requests for admission were
premature. Nevertheless, as plaintiff propounded the requests         Le v. Cheesecake Factory Restaurants Inc., No. No. 06–
for admission before the parties conducted their mandatory            20006, 2007 WL 715260, at *2 (5th Cir. Mar. 6, 2007).
Rule 26(f) conference or had stipulated that discovery could          Unquestionably, refusing to allow Fred's to withdraw the
proceed, the court concludes that the requests for admission          admissions would eliminate any presentation on the merits.
were premature and consequently, no response to the requests          Further, it is apparent that the admissions were the result of
for admission was due from Fred's. It follows that the requests       mere oversight on the part of Fred's counsel. And, Fred's was
for admission are not deemed admitted under Rule 36(a);               diligent in seeking withdrawal.
and it further follows that plaintiff's motion for summary
judgment or judgment on the pleadings is not well taken and           Regarding prejudice, the Fifth Circuit has held:
should be denied.
                                                                        Prejudice may occur where a party faces “special
Even if the requests for admission were timely and proper               difficulties ... caused by a sudden need to obtain evidence
under Rule 26(f), the court would find that Fred's should be            upon withdrawal or amendment of an admission.”             Am.
allowed to withdraw its deemed admissions and that summary              Auto. Ass'n., Inc., v. AAA Legal Clinic of Jefferson Crooke,
judgment or judgment on the pleadings was not appropriate.              P.C., 930 F.2d 1117, 1120 (5th Cir.1991). However, “[t]he
The court may permit the withdrawal of an admission if the              necessity of having to convince a trier of fact of the truth of
withdrawal would “promote the presentation of the merits
of the action and if the court is not persuaded that it would           a matter erroneously admitted is not sufficient.” N. La.
prejudice the requesting party in maintaining or defending the          Rehab. Center, Inc. v. United States, 179 F.Supp.2d 658,
action on the merits.” Fed.R.Civ.P. 36(b). Clearly, allowing            663 (W.D.La.2001) (quoting          F.D.I.C. v. Prusia, 18 F.3d
withdrawal of the admissions would promote presentation of              637, 640 (8th Cir.1994)).
the case on the merits, and plaintiff cannot credibly claim
that she will suffer cognizable prejudice if the admissions are          Thanedar v. Time Warner, Inc., 352 Fed. App'x 891, 896
withdrawn. In this vein, the Fifth Circuit has explained that         (5th Cir.2009). The court in Thanedar concluded that the
under Rule 36(a),                                                     plaintiff there did not suffer prejudice due to the district court's


               Case  1:21-cv-00510-WCG
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                                                 to original      Page 18 ofWorks.
                                                             U.S. Government 20 Document 55                                            2
Thompson v. Fred's Stores of Tennessee, Inc., Not Reported in F.Supp.3d (2015)



decision to allow withdrawal of admissions where the plaintiff      factor test has been satisfied.   In re Carney, 258 F.3d 415,
was on notice based on other discovery that the defendants          419 (5th Cir.2001). However, the court perceives no valid
were taking a position in the litigation that was contrary to the   basis for rejecting Fred's request to withdraw admissions in
                                                                    this case.
deemed admissions.       Id. at 896–97. The court concluded
that “[a]ny prejudice from the withdrawal of the admissions
                                                                    Therefore, based on all of the foregoing, it is ordered as
resulted ‘from the inaccuracy of the admissions rather than
                                                                    follows:
the stage of the proceedings at which the [appellees] sought to
amend [their] admissions.’ “ Id. at 897 (quoting Prusia,            Fred's motion to withdraw deemed admissions is granted;
18 F.3d at 640). Likewise, here, plaintiff was undeniably           Plaintiff's motion for summary judgment, or in the alternative
aware from Fred's answer and from its responses to her              judgment on the pleadings, is denied;
interrogatory responses that Fred's denied plaintiff's claim
both as to liability and her claimed damages. Furthermore, the      To avoid future uncertainty, Fred's motion to stay discovery
case is in its earliest stages. Although there has been some        until the case management conference is granted; and lastly,
limited discovery, the case management conference has not           in the court's discretion, plaintiff's motion for attorney's fees
yet been held and plaintiff will have ample opportunity to          and costs is denied.
obtain evidence supportive of her claim. In short, therefore, it
is clear plaintiff will suffer no prejudice from the granting of    SO ORDERED.
Fred's motion to withdraw.

*4 The court does still have discretion to deny a request to        All Citations
withdraw or amend an admission even when Rule 36(b)'s two-
                                                                    Not Reported in F.Supp.3d, 2015 WL 5655948




                                                            Footnotes


1       Under Rule 36(a), a matter in a requests for admission is deemed admitted unless the party to whom the
        request is directed answers or objects to the matter within thirty days.    Williams v. Wells Fargo Bank, N.A.,
        560 Fed. App'x 233, 243–44 (5th Cir.2014).
2       The Fifth Circuit has held as follows:
          Rule 36 admissions are conclusive as to the matters admitted and cannot be overcome at the summary
          judgment stage by contradictory affidavit testimony or other evidence in the record. We have stressed
          that a deemed admission can only be withdrawn or amended by motion in accordance with Rule 36(b).
          To withdraw an admission, Rule 36(b) requires that the court find that withdrawal 1) would serve the
          presentation of the case on its merits, but 2) would not prejudice the party that obtained the admissions in its
          presentation of the case. Even if a party establishes these two factors, the district court retains discretion to
          deny a request to withdraw an admission, and admissions on file may be an appropriate basis for granting
          summary judgment.
           Williams v. Wells Fargo Bank, N.A., 560 Fed. App'x 233, 244 (5th Cir.2014) (internal quotation marks and
        citations omitted).
3       Rule 26(f) provides that at least 21 days before the Rule 16(b) scheduling conference, the parties confer
        regarding a proposed discovery plan and then submit a written report outlining that plan for the court. Rule
        26(d)(1) states:
           A party may not seek discovery from any source before the parties have conferred as required by Rule
           26(f), except in a proceeding exempted from initial disclosure under Rule 26(a)(1)(B), or when authorized
           by these rules, by stipulation, or by court order.



              Case  1:21-cv-00510-WCG
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                                                to original      Page 19 ofWorks.
                                                            U.S. Government 20 Document 55                                        3
Thompson v. Fred's Stores of Tennessee, Inc., Not Reported in F.Supp.3d (2015)


      Uniform Local Rule 26(a)(4) recites that “[d]iscovery before the case management conference is governed
      by FED.R.CIV.P. 26(d)(1).”
      Fred's claims that “[t]he parties have not conferred and have not created or agreed to a discovery plan prior to
      the Case Management Conference,” and thus contends that any discovery requests made prior to submission
      of the written report should be treated as null, so that there was no duty to respond as required by Rule
      36. It makes this argument notwithstanding that on April 10, 2015, at a time when the parties clearly had
      not conferred concerning a discovery plan, Fred's propounded its own set of interrogatories, requests for
      production and requests for admission.
4     See Fed.R.Civ.P. 36(b)(“Subject to Rule 16(e), the court may permit withdrawal or amendment if it would
      promote the presentation of the merits of the action and if the court is not persuaded that it would prejudice
      the requesting party in maintaining or defending the action on the merits.”).
5     Fred's also objected in its response that plaintiff's Notice of Deemed Admissions was unaccompanied by the
      good faith certificate required by Federal Rule of Civil Procedure 37(a). Clearly, this objection is not well taken
      as plaintiff's Notice of Deemed Admissions was not a motion for an order compelling disclosure of discovery,
      to which Rule 37(a) applies, but was instead presented merely as plaintiff's notice to the court and to Fred's
      that she considers that in accordance with Rule 36(b), her requests for admission are deemed admitted as
      a result of Fred's alleged failure to timely respond.
6     Counsel for plaintiff states that at the time he served the requests for admission, he had already received
      discovery requests from Fred's, in response to which he had expressed his concern with proceeding with
      discovery when no case management order had been entered. In an email, he wrote:
         I am aware that no formal stay was ever entered, but upon review of FRCP 26(f)(3), a discovery plan is
         required if discovery is to commence before the CMC. I do not think any such plan has been contemplated
         or submitted.
      Fred's counsel responded to his concerns via email, stating:
         After my review of Pacer and CM/ECF filing, please be advised that our office has not received notice of
         any stay of discovery in this matter. It is my understanding that the scheduling of the case management
         conference will not impact the submission of discovery responses; however, the case management order
         will provide an “end” date for the discovery period. As you are aware, such responses are necessary for
         the preparation of depositions and continued litigation in this matter. We ask that you please provide your
         response so that we may continue to work toward a resolution of this matter....
      The court observes that this email was sent to plaintiff's counsel at 5:16 p.m. on June 3, 2015, approximately
      30 minutes after plaintiff filed her notice of service of requests for admission on Fred's.
7     The court notes that plaintiff's argument that in view of the statements in the email, Fred's is judicially estopped
      from “flip flopping” and now taking the contrary position that the parties had not conferred and agreed on a
      discovery plan. Plaintiff's reliance on judicial estoppel is misplaced. Judicial estoppel applies only where “(1)
      the party against whom judicial estoppel is sought has asserted a legal position which is plainly inconsistent
      with a prior position; (2) a court accepted the prior position; and (3) the party did not act inadvertently.” Reed
      v. City of Arlington, 650 F.3d 571, 574 (5th Cir.2011) (emphasis added). That plainly is not the case here.


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                                              to original      Page 20 ofWorks.
                                                          U.S. Government 20 Document 55                                   4
